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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER, et al., )
)
Plaintiffs, ) Case No. 04-CV-2688
)
V. ) Hon. Judge Jones
)
DOVER AREA SCHOOL DISTRICT and) CERTIFICATION OF
DOVER AREA SCHOOL DISTRICT ) ROBERT J. MUISE
BOARD OF DIRECTORS, )
)
Defendants. )
)

 

I, Robert J. Muise, hereby certify as follows:

l. I] am an attorney licensed in the States of Michigan and New
Hampshire and a trial counsel with the Thomas More Law Center, attorneys for
Defendants. As such, I am familiar with the facts set forth herein.

2. Attached as Exhibit A to Defendants’ Reply in Support of Motion in

Limine to Exclude the Testimony of Barbara Forrest, Ph.D. (“Defendants’ Reply”)
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is a true and accurate copy of the curriculum vitae of William A. Dembski, which
he submitted pursuant to his initial disclosure as an expert witness in this case.

3. Attached as Exhibit B to Defendants’ Reply is a true and accurate
copy of an excerpt (p. 6) from The Blind Watchmaker by Richard Dawkins.

4. Attached as Exhibit C to Defendants’ Reply is a true and accurate
copy of an excerpt (pp. 146-147 & 266-267) from Ever Since Darwin by Stephen
Jay Gould.

5. Attached as Exhibit D to Defendants’ Reply is a true and accurate
copy of an excerpt (pp. 314-315) from The Meaning of Evolution by George
Gaylord Simpson.

I declare (or certify, verify, or state) under penalty of perjury under the laws
of the United States of America that the foregoing is true and correct.

Executed on this 21° day of September, 2005.

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